           Case 24-11552    Doc 10    Filed 08/12/24 Entered 08/12/24 17:11:42         Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION
Honorable      David D. Cleary                                   Hearing Date August 12, 2024

Bankruptcy Case                   24bk11552                 Adversary No.
Title of       Berkshire Investments, LLC


Brief          Application to Set Hearing on Emergency Motion.          EOD #9
Statement of
Motion




Names and
Addresses of
moving
counsel


Representing



                                                  ORDER


               Application is Granted. Emergency Motion is to be set for hearing on
               August 14, 2024, at 11:00 a.m., at 219 S. Dearborn St., Courtroom 644,
               Chicago, IL 60604, or via Zoom for Government - Judge Cleary.
